                                                                                                                   Case 2:19-cr-00142-APG-DJA Document 90 Filed 07/09/20 Page 1 of 4


                                                                                                       1
                                                                                                            THOMAS ERICSSON, ESQ.
                                                                                                       2    Nevada Bar No. 4982
                                                                                                            RACHAEL E. STEWART, ESQ.
                                                                                                       3
                                                                                                            Nevada Bar No. 14122
                                                                                                       4    1050 Indigo Drive, Suite 120
                                                                                                            Las Vegas, Nevada 89145
                                                                                                       5    Telephone: (702) 878-2889
                                                                                                            Facsimile: (702) 522-1542
                                                                                                       6    tom@oronozlawyers.com
                                                                                                            Attorneys for Defendant Kevin Stubbs
                                                                                                       7
                                                                                                                                           UNITED STATES DISTRICT COURT
                                                                                                       8
                                                                                                                                               DISTRICT OF NEVADA
                                                                                                       9

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                                                                                                             UNITED STATES OF AMERICA,
                                                                            Facsimile (702) 522-1542




                                                                                                       11                                                           CASE NO.:      2:19-CR-00142-APG-DJA
                    1050 Indigo Drive, Suite 120• Las Vegas, Nevada 89145




                                                                                                                              Plaintiff,
                                                                                                       12                                                           STIPULATION TO EXTEND TIME
                                                                                                                                                                    TO FILE OBJECTIONS TO THE
ORONOZ & ERICSSON




                                                                                                             vs.                                                    MAGISTRATE COURT’S REPORT
                                                                                                       13
                                                                                                                                                                    AND RECOMMENDATION (ECF No.
                                                                                                             KEVIN STUBBS,                                          88)
                                                                                                       14
                                              LLC




                                                                                                                              Defendant.                                            ORDER
                                                                            Telephone (702) 878-2889




                                                                                                       15                                                           (First Request)

                                                                                                       16            IT IS HEREBY STIPULATED AND AGREED by Defendant Kevin Stubbs, by and
                                                                                                       17
                                                                                                            through his attorney, THOMAS A. ERICSSON, ESQ., and the United States of America, by
                                                                                                       18
                                                                                                            and through TONY LOPEZ, ESQ., and JAMIE MICKELSON, ESQ., Assistant United States
                                                                                                       19
                                                                                                            Attorneys, that the date for the defendant to file Objections to the Magistrate Court’s Report
                                                                                                       20
                                                                                                       21   and Recommendation denying Mr. Stubbs’ Motion to Suppress Evidence (ECF No. 77) be

                                                                                                       22   extended up to and including July 30, 2020.

                                                                                                       23            The request for a continuance is based upon the following:
                                                                                                       24            1.     Counsel for the Defendant is awaiting the transcripts from the evidentiary
                                                                                                       1
                                                                                                       2




                                                                                                       25
                                                                                                                            hearing held on June 12, 2020. Counsel believes the transcripts will be necessary
                                                                                                       26
                                                                                                                            for the Court’s consideration of the issues raised in the Objections. Counsel
                                                                                                       27

                                                                                                       28
                                                                                                                Case 2:19-cr-00142-APG-DJA Document 90 Filed 07/09/20 Page 2 of 4


                                                                                                       1
                                                                                                                           requires the additional time to obtain the transcripts and finalize Mr. Stubbs’
                                                                                                       2
                                                                                                                           objections.
                                                                                                       3

                                                                                                       4           2.      Defendant Stubbs is currently in custody and has no objection to the

                                                                                                       5                   continuance.
                                                                                                       6           3.      Defense Counsel has spoken to Assistant United States Attorney Jamie
                                                                                                       7
                                                                                                                           Mickelson, and she has no objection to the extension.
                                                                                                       8
                                                                                                                   4.      The additional time requested herein is not sought for purposes of delay.
                                                                                                       9
                                                                                                                   5.      Denial of this request for an extension would deny counsel for the defendant
                                                                                                       10
                                                                                                                           sufficient time to effectively and thoroughly prepare and submit Objections,
                                                                            Facsimile (702) 522-1542




                                                                                                       11
                    1050 Indigo Drive, Suite 120• Las Vegas, Nevada 89145




                                                                                                       12                  taking into account the exercise of due diligence.
ORONOZ & ERICSSON




                                                                                                       13          6.      Additionally, denial of this request for continuance could result in a miscarriage
                                                                                                       14                  of justice.
                                              LLC

                                                                            Telephone (702) 878-2889




                                                                                                       15
                                                                                                                   This is the first request to extend the time to file the Objections.
                                                                                                       16
                                                                                                            DATED: July 9, 2020
                                                                                                       17
                                                                                                            Respectfully submitted,
                                                                                                       18

                                                                                                       19

                                                                                                       20   /s/ Thomas A. Ericsson       .                 /s/ Jamie Mickelson
                                                                                                            Thomas A. Ericsson, Esq.                       Tony Lopez, Esq.
                                                                                                       21   Oronoz & Ericsson, LLC                         Jamie Mickelson, Esq.
                                                                                                            1050 Indigo Drive, Suite 120                   501 Las Vegas Boulevard, South, Suite 1100
                                                                                                       22   Las Vegas, Nevada, 89145                       Las Vegas, Nevada, 89101
                                                                                                            Attorney for Defendant                         Attorneys for the United States of America
                                                                                                       23

                                                                                                       24
                                                                                                       1
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                                                                                                       1
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                                                                                                       6    tom@oronozlawyers.com
                                                                                                            Attorneys for Defendant Kevin Stubbs
                                                                                                       7
                                                                                                                                          UNITED STATES DISTRICT COURT
                                                                                                       8
                                                                                                                                              DISTRICT OF NEVADA
                                                                                                       9

                                                                                                       10
                                                                                                             UNITED STATES OF AMERICA,
                                                                            Facsimile (702) 522-1542




                                                                                                       11                                                          CASE NO.:      2:19-CR-00142-APG-DJA
                    1050 Indigo Drive, Suite 120• Las Vegas, Nevada 89145




                                                                                                                             Plaintiff,
                                                                                                       12
ORONOZ & ERICSSON




                                                                                                             vs.
                                                                                                       13
                                                                                                             KEVIN STUBBS,
                                                                                                       14
                                              LLC




                                                                                                                              Defendant.
                                                                            Telephone (702) 878-2889




                                                                                                       15

                                                                                                       16                                       FINDINGS OF FACT
                                                                                                       17
                                                                                                                     Based on the pending Stipulation of counsel, and good cause appearing therefore, the
                                                                                                       18

                                                                                                       19   Court finds:

                                                                                                       20            1.    Counsel for the Defendant is awaiting the transcripts from the evidentiary
                                                                                                       21                  hearing held on June 12, 2020. Counsel believes the transcripts will be necessary
                                                                                                       22
                                                                                                                           for the Court’s consideration of the issues raised in the Objections. Counsel
                                                                                                       23
                                                                                                                           requires the additional time to obtain the transcripts and finalize Mr. Stubbs’
                                                                                                       24
                                                                                                       1
                                                                                                       2




                                                                                                                           objections.
                                                                                                       25

                                                                                                       26            2.    Defendant Stubbs is currently in custody and has no objection to the

                                                                                                       27                  continuance.

                                                                                                       28
                                                                                                                Case 2:19-cr-00142-APG-DJA Document 90 Filed 07/09/20 Page 4 of 4


                                                                                                       1
                                                                                                                   3.      Defense Counsel has spoken to Assistant United States Attorney Jamie
                                                                                                       2
                                                                                                                           Mickelson, and she has no objection to the extension.
                                                                                                       3

                                                                                                       4           4.      The additional time requested herein is not sought for purposes of delay.

                                                                                                       5           5.      Denial of this request for an extension would deny counsel for the defendant
                                                                                                       6                   sufficient time to effectively and thoroughly prepare and submit Objections,
                                                                                                       7
                                                                                                                           taking into account the exercise of due diligence.
                                                                                                       8
                                                                                                                   6.      Additionally, denial of this request for continuance could result in a miscarriage
                                                                                                       9
                                                                                                                           of justice.
                                                                                                       10
                                                                                                                                              CONCLUSION OF LAW
                                                                            Facsimile (702) 522-1542




                                                                                                       11
                    1050 Indigo Drive, Suite 120• Las Vegas, Nevada 89145




                                                                                                       12          For all of the above-stated reasons, the ends of justice would best be served by a
ORONOZ & ERICSSON




                                                                                                       13   continuance of the Defendant’s deadline to file objections. The additional time requested
                                                                                                       14   herein is not sought for purposes of delay, taking into account due diligence. The failure to
                                              LLC

                                                                            Telephone (702) 878-2889




                                                                                                       15
                                                                                                            grant said continuance would likely result in a miscarriage of justice.
                                                                                                       16
                                                                                                                                                        ORDER
                                                                                                       17
                                                                                                                   Based on the pending stipulation of the parties, and good cause appearing, the
                                                                                                       18

                                                                                                       19   stipulation is hereby GRANTED.

                                                                                                       20          IT IS HEREBY ORDERED that the deadline for Defendant to file objections to the

                                                                                                       21   Magistrate Court’s Report and Recommendation [ECF No. 88] be extended to July 30, 2020.
                                                                                                       22
                                                                                                                                       9th day
                                                                                                                   DATED AND DONE this _____   ofofJuly,
                                                                                                                                             day         2020.
                                                                                                                                                    ___________________________, 2020.
                                                                                                       23

                                                                                                       24
                                                                                                       1
                                                                                                       2




                                                                                                       25
                                                                                                                                                           ______________________________________
                                                                                                       26
                                                                                                                                                            UNITED STATES DISTRICT JUDGE
                                                                                                       27

                                                                                                       28
